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                     UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                Criminal No. 04-CR-126-PB

Jerry Shanahan, et al.



                                O R D E R


     The defendants have moved to continue the November 1, 2005

trial in the above case, citing the complexity of the case and

the need for additional time to complete extensive discovery and

prepare a defense.    The government objects to a continuance of

the trial date.

     Accordingly, for the above reasons and to allow the parties

additional time to properly prepare for trial, the court will

continue the trial from November 1, 2005 to March 7, 2006.                 In

agreeing to continue the trial, the court finds pursuant to 18

U.S.C.A. § 3161(h)(8)(A) that for the above-stated reasons, the

ends of justice served in granting a continuance outweigh the

best interests of the public and the defendants in a speedy

trial.
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      The October 19, 2005 final pretrial conference is continued

until February 16, 2005 at 3:30 p.m.

      SO ORDERED.



                                          ________________________
                                          Paul Barbadoro
                                          United States District Judge

September 17, 2005

cc:   Peter D. Anderson, Esq.
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      William Cintolo, Esq.
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      David Vicinanzo, Esq.
      William Morse, AUSA
      United States Marshal
      United States Probation




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